                       Case 1:20-cv-00177-N/A Document 3                            Filed 09/10/20            Page 1 of 2           FORM 5
                                  UNITED STATES COURT OF INTERNATIONAL TRADE
                                                     INFORMATION STATEMENT

                                                      (Place an "X" in applicable [ ])
PLAINTIFF:
HMTX Industries LLC, et al.
___________________________________________

ATTORNEY (Name, Address, Telephone No.):
Matthew R. Nicely
2001 K Street, NW, Washington, D.C. 20006
202-887-4046


                                                     CONSTITUTIONAL ISSUE - 28 U.S.C. ' 255

If this action raises an issue of the constitutionality of an Act of Congress, a proclamation of the President or an Executive order,
check this box: [ ]



                                                                JURISDICTION

28 U.S.C. ' 1581(a) - Tariff Act of 1930, Section 515 - 19 U.S.C. ' 1515
[ ] Appraisal                   [ ] Classification    [ ] Charges or Exactions       [ ] Vessel Repairs
[ ] Exclusion                   [ ] Liquidation       [ ] Drawback
[ ] Refusal to Reliquidate     [ ] Rate of Duty       [ ] Redelivery

28 U.S.C. ' 1581(b) - Tariff Act of 1930, Section 516 - 19 U.S.C. ' 1516
     [ ] Appraisal           [ ] Classification        [ ] Rate of Duty

28 U.S.C. ' 1581(c) - Tariff Act of 1930, Section 516A(a)(1), (a)(2) or (a)(3) - 19 U.S.C. '1516a or Section 517(g) – 19 U.S.C. §1517
(Provide a brief description of the administrative determination you are contesting, including any relevant Federal Register or
Administrative Determination citation(s) and the product(s) involved in the determination. For Section 516A(a)(1) or (a)(2), cite the specific
subparagraph and clause of the section.)
Subparagraph and Clause ______________________________ Agency_______________________________
Federal Register or Administrative Determination Cite(s) ______________________________________________________________
Product(s)_________________________________________________________________________________

28 U.S.C. ' 1581(d) - Trade Act of 1974 - 19 U.S.C. '' 2273, 2341, 2401b
[ ] U.S. Secretary of Labor       [ ] U.S. Secretary of Commerce          [ ] U.S. Secretary of Agriculture

28 U.S.C. ' 1581(e) - Trade Agreements Act of 1979, Section 305(b)(1) - 19 U.S.C. ' 2515 (Provide a brief statement of the final
determination to be reviewed.)


28 U.S.C. ' 1581(f) - Tariff Act of 1930, Section 777(c)(2) - 19 U.S.C. ' 1677f(c)(2)
Agency:    [ ] U.S. International Trade Commission           [ ] Administering Authority

28 U.S.C. ' 1581(g) - Tariff Act of 1930, Section 641 - 19 U.S.C. ' 1641 - or Section 499 - 19 U.S.C. ' 1499
[ ] Sec. 641(b)(2)    [ ] Sec. 641(b)(3)          [ ] Sec. 641(c)(1)      [ ] Sec. 641(b)(5)
[ ] Sec. 641(c)(2)    [ ] Sec. 641(d)(2)(B) [ ] Sec. 499(b)
                        Case 1:20-cv-00177-N/A Document 3 Filed 09/10/20
                                               JURISDICTION
                                                                                                         Page 2 of 2
                                                                    (Continued)

   28 U.S.C. ' 1581(h) - Ruling relating to:
        [ ] Classification       [ ] Valuation              [ ] Restricted Merchandise
        [ ] Rate of Duty         [ ] Marking                [ ] Entry Requirements
        [ ] Drawbacks            [ ] Vessel Repairs         [ ] Other: ________________
        _________________________________________________________________________________

   28 U.S.C. ' 1581(i) - (Cite any applicable statute and provide a brief statement describing jurisdictional basis.)
  The Court has jurisdiction pursuant to 28 U.S.C. § 1581(i)(1)(B) because this action contests tariffs "on the importation of
  merchandise for reasons other than the raising of revenue."



   28 U.S.C. ' 1582 - Actions Commenced by the United States
        [ ] (1) Recover civil penalty under Tariff Act of 1930:
                  [ ] Sec. 592              [ ] Sec. 593A           [ ] Sec. 641(b)(6)
                  [ ] Sec. 641(d)(2)(A)    [ ] Sec. 704(i)(2)       [ ] Sec. 734(i)(2)
        [ ] (2) Recover upon a bond
        [ ] (3) Recover customs duties



                                                            RELATED            C A S E (S)


   To your knowledge, does this action involve a common question of law or fact with any other action(s) previously decided or now pending?


                                            PLAINTIFF                             COURT NUMBER                          JUDGE


   [ ] Decided:




   [ ] Pending:




                                                      (Attach additional sheets, if necessary.)

(As amended, eff. Jan. 1, 1985; Jan. 25, 2000, eff. May 1, 2000; May 25, 2004, eff. Sept. 1, 2004; Nov. 29, 2005, eff. Jan. 1, 2006;
Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 4, 2012, eff. Jan. 1, 2013; Sept. 18, 2018, eff. Oct. 15, 2018.)
